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                       THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL STRENCHOCK,
                                               3:19-CV-2177
              Plaintiff,                       (JUDGE MARIANI)

              v.

PENNSYLVANIA STATE UNIVERSITY,

              Defendant.

                                           ORDER

       AND NOW, THIS       d/   ~r   DAY OF JUNE, 2021, upon receipt of Plaintiffs letter

informing the Court that the above-captioned matter has been resolved (Doc. 25), IT 15

HEREBY ORDERED THAT this action is DISMISSED without costs and without prejudice to

the right, upon good cause shown within sixty (60) days, to reinstate the action if settlement is

not consummated .

       Failure of a party to file a motion for reinstatement, or a motion for an extension of time

to consummate the settlement, within the above 60-day time period will result in the automatic

conversion of this dismissal from one without prejudice to one with prejudice.




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                                                           United States District Judge
